Case 2:22-cr-00108-AWA-RJK Document 18-1 Filed 08/11/22 Page 1 of 3 PagelD# 225

Redacted
JS 45 (11/2002)
Criminal Case Cover Sheet U.S. District Court
Place of Offense: Under Seal: Yes L] No Judge Assigned: 5
City: EDVA Criminal Complaint: _ Criminal Number: 2:22-cr- l 0 b
County/Parish: Same Defendant: New Defendant:

Magistrate Judge Case Number: Arraignment Date: 8/22/2022 @2:30pm

Search Warrant Case Number:
R 20/R 40 from District of

Defendant Information:

Juvenile: Yes No FBI#

Defendant Name: Yang Gao Alias Name(s):

Address:

Birth a SS# |Sex: (Race: | Nationality: Place of Birth:
Height: 6’ 0” Weight: Hair: [Eyes: Scars/Tattoos:

Interpreter: Yes KJ No List Language and/or dialect: Mandarin

Location Status:

Arrest Date: |

Already in Federal Custody as of: 7/18/2022 in: WIRI

C) Already in State Custody C) On Pretrial Release C1) Not in Custody

L] Arrest Warrant Requested CO Fugitive C1) Summons Requested
1) Arrest Warrant Pending L] Detention Sought C] Bond

Defense Counsel Information:

Name: Diane Toscano C] Court Appointed

Address1244 Perimeter Pkwy Suite 443
Virginia Beach, Va. 23454

(X] Retained
Telephone: 757-821-7972 CL) Public Defender

C) Office of Federal Public Defender should not be appointed due to conflict of
Email: interest

C1 CJA attorney: should not be appointed due to conflict of interest

U.S. Attorney Information:

| AUSA: Megan Montoya | Telephone No. 757-441-6331 Bar #:

Complainant Agency, Address & Phone Number or Person & Title:

HSI /SA John Robert Thomas 200 Granby Street Suite 600 Norfolk, VA. 23510

U.S.C. Citations:
Code/Section Description of Offense Charged Count(s) Capital/Felony/Misd/Petty

Set] | 18 U.S.C. § 371 Interstate and Foreign Travel 1 Felony
Set2 | 18 U.S.C. §§ 1952 (a)(3) Use of Facilities in Interstate Commerce to 2 Felony

and 2 Promote Prostitution
Set3 | 18 U.S.C. § 1956(a)(1) Conspiracy to Commit Money Laundering 3 Felony
Set4 | 18U.S.C. § 1951(a) Interference with Commerce by Robbery 4 Felony
Set5 | 18 U.S.C. §§ 924(d)(1) Criminal Forfeiture

981(a)(1)(C), and 982

(a)(1); 28 U.S.C.§246 1(c)

Case 2:22-cr-00108-AWA-RJK Document 18-1 Filed 08/11/22 Page 2 of 3 PagelD# 226

JS 45 (11/2002) Redacted
__ Criminal Case Cover Sheet U.S. District Court
Place of Offense: Under Seal: Yes] No Judge Assigned:
City: EDVA Criminal Complaint: Criminal Number: 2:22-cr- [O¥
County/Parish: Same Defendant: New Defendant:
Magistrate Judge Case Number: Arraignment Date: 8/22/2022@ 2:30pm
Search Warrant Case Number:
R 20/R 40 from District of
Defendant Information:
Juvenile: Yes No & FBI#
Defendant Name: Ye Wang | Alias Name(s):
Address:
Birth Date: — lsex: __|Race: Nationality: Place of Birth:
Height: 6’ 0” Weight: Hair: Eyes: Scars/Tattoos:

Interpreter: Yes K No 1

List Language and/or dialect: Mandarin

Location Status:
Arrest Date: |
6 Already in Federal Custody as of: ___ 7/18/2022 in: WIRJ
O) Already in State Custody O On Pretrial Release OU Not in Custody
C] Arrest Warrant Requested O Fugitive C Summons Requested
OO Arrest Warrant Pending [) Detention Sought () Bond
Defense Counsel Information:
Name: Brian Latuga OC Court Appointed
Address: 200 Bendix Road
Va. Beach, VA. 23452 Retained
Telephone: 757-497-6633 CO Public Defender
DO) Office of Federal Public Defender should not be appointed due to conflict of
Email: interest
C) CJA attorney: should not be appointed due to conflict of interest

U.S. Attorney Information:

| AUSA: Megan Montoya | Telephone No. 757-441-6331 Bar #:
Complainant Agency, Address & Phone Number or Person & Title:
| HSI/SA John Robert Thomas 200 Granby Street Suite 600 Norfolk, VA. 23510
U.S.C. Citations:
Code/Section Description of Offense Charged Count(s) Capital/Felony/Misd/Petty
Set1 | 18 U.S.C. § 371 Interstate and Foreign Travel 1 Felony
Set2 | 18 U.S.C. §§ 1952 (a)(3) Use of Facilities in Interstate Commerce to 2 Felony
and 2 Promote Prostitution
Set3 | 18 U.S.C. § 1956(a)(1) Conspiracy to Commit Money Laundering 3 Felony
Set4 | 18 U.S.C.§ 1951 (a) Interference with Commerce by Robbery 4 Felony
Set5S | 18 U.S.C. §§ 924(d)(1) Criminal Forfeiture
981(a)(1)(C), and 982
(a)(1); 28 U.S.C.§2461(c)

Case 2:22-cr-00108-AWA-RJK Document 18-4 Filed 08/11/22 Page 3 of 3 PagelD# 227

JS 45 (11/2002)
Criminal Case Cover Sheet U.S, District Court
|_Place of Offense: Under Seal: Yes] No Judge Assigned:
City: EDVA Criminal Complaint: Criminal Number: 2:22-cr- 0 8
County/Parish: Same Defendant: New Defendant:
Magistrate Judge Case Number: Arraignment Date: 8/22/2022 @ 2:30pm
Search Warrant Case Number:
R 20/R 40 from District of
Defendant Information:
Juvenile: Yes 1 No FBI#
Defendant Name: Si Liu | Alias Name(s):
Address:
Birth a SS# |Sex: [Race: | Nationality: Place of Birth:
Height: 6’ 0” Weight: Hair: Eyes: Scars/Tattoos:
Interpreter: Yes XI No L) |List Language and/or dialect: Mandarin
Location Status:
Arrest Date: |
Already in Federal Custody as of: 7/18/2022 in: WTRJ

C] Already in State Custody

[1 On Pretrial Release

L] Not in Custody

C] Arrest Warrant Requested

C Fugitive

L] Summons Requested

OO Arrest Warrant Pending

LJ Detention Sought

C1 Bond

Defense Counsel Information:

Name: James Broccoletti

( Court Appointed

23502

Address: 6663 Stoney Point S. Norfolk, Va.

C] Retained

Telephone: 757-932-3457

0 Public Defender

Email:

interest

C Office of Federal Public Defender should not be appointed due to conflict of

CO) CIA attorney:

should not be appointed due to conflict of interest

U.S. Attorney Information:

| AUSA: Megan Montoya | Telephone No. 757-441-6331 Bar #:
Complainant Agency, Address & Phone Number or Person & Title:
| HSI /SA John Robert Thomas 200 Granby Street Suite 600 Norfolk, VA. 23510
U.S.C. Citations:
Code/Section Description of Offense Charged Count(s) Capital/Felony/Misd/Petty
Set] | 18 U.S.C. § 371 Interstate and Foreign Travel 1 Felony
Set2 | 18 U.S.C, § 1952 (a)(3) Use of Facilities in Interstate Commerce to 2 Felony
and 2 Promote Prostitution
Set3 | 18 U.S.C. § 1956(a)(1) Conspiracy to Commit Money Laundering 3 Felony
Set4 | 18 U.S.C. §§ 924(d)(1),
981(a}(1)(c), and 982(a)(1); Criminal Forfeiture
28U.8.C.§2461(c)

